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UNITED STATES DISTRICT COURT
                                                                          DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                          DATE FILED: 10/19/2020
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  RAFAEL ACERO TORRES, et al.,                                    :
                                                  Plaintiffs, :             1:19-cv-09357-GHW
                                                                  :
                              -v -                                :              ORDER
                                                                  :
  JAIRO ENRIQUE SANCHEZ & DILIA                                   :
  MARGARITA BAEZ.,                                                :
                                                                  :
                                               Defendants. :
                                                                  :
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GREGORY H. WOODS, United States District Judge:

         For the reasons stated on the record during the October 19, 2020 teleconference, the Court

finds Defendants liable for each of Plaintiffs’ asserted claims as a result of Defendants’ default. By

separate order entered today, this case is referred to Magistrate Judge Cave for an inquest into

damages. Plaintiffs are directed to serve a copy of this order on Defendants and/or their counsel.

SO ORDERED.

Dated: October 19, 2020
New York, New York                                                __________________________________
                                                                         GREGORY H. WOODS
                                                                         United States District Judge
